                                         Case 5:18-cv-01223-VKD Document 347 Filed 06/14/23 Page 1 of 1




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                                   4                                UNITED STATES DISTRICT COURT

                                   5                               NORTHERN DISTRICT OF CALIFORNIA

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                                   7    SATISH RAMACHANDRAN,                             Case No. 23-cv-02928-SVK
                                                      Plaintiff,
                                   8
                                                                                         REFERRAL FOR PURPOSE OF
                                                v.                                       DETERMINING RELATIONSHIP
                                   9

                                  10    CITY OF LOS ALTOS, et al.,
                                                      Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          Pursuant to Civil Local Rule 3-12(c), the above-entitled case is hereby REFERRED to the

                                  14   Honorable Virginia K. DeMarchi for consideration of whether the case is related to

                                  15   Ramachandran v. City of Los Altos, et al., Case No. 18-cv-1223-VKD.

                                  16          SO ORDERED.

                                  17   Dated: June 14, 2023

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                                                                                      SUSAN VAN KEULEN
                                  19                                                  United States Magistrate Judge
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